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                              IN THE UNITED STATES DISTRICT COURT
                                  SOUTHERN DISTRICT OF FLORIDA
                                      Case No.: 17-cv-60426-UU


  ALEKSEJ GUBAREV, XBT HOLDING S.A.,
  AND WEBZILLA, INC.

        Plaintiffs,

  vs.

  BUZZFEED, INC. AND BEN SMITH,

     Defendants.
  --------------------------------
                                                    I



                                  DECLARATION OF KEN BENSINGER
                                 IN SUPPORT OF MOTION TO DISMISS

            I, Ken Bensinger, declare as follows:

             1.       I am employed by Defendant BuzzFeed, Inc. ("BuzzFeed") as an investigative

  reporter at BuzzFeed News. I live and work in Los Angeles, California. I submit this

  declaration in support of Defendants' motion to dismiss this action for lack of personal

 jurisdiction or, in the alternative, transfer it to the Southern District of New York. I am familiar

  with the facts herein and make this declaration from my own personal knowledge.

            2.        Along with Miriam Elder and Mark Schoofs, I am one of the journalists listed on

  the article referred to in paragraph 23 ofthe Complaint in this action (the "Article"). Prior to the

  publication of the Article, I conducted news gathering in connection with the dossier referred to

  in paragraph 24 ofthe Complaint (the "Dossier").

             3.       I did not travel to Florida as part of my investigation, or to my knowledge ever

  communicate with anyone in Florida about the Article, the Dossier, or the contents of the

  Dossier.


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           4.     On January 10, 2017- the day BuzzFeed published the Article and the Dossier- I

  was on vacation with my family at Walt Disney World near Orlando, Florida, for a vacation that

  we had long planned. While at the theme park with my family, I participated in a few telephone

  calls that day with members of the BuzzFeed staff in New York City regarding publication of the

  Article and the Dossier.

           5.     I did not write the Article. I reviewed a draft of the Article on my cellular phone

  before it was published and provided comments orally to Mark.

           6.        At the time the Article was published, I was not aware of any connections

  between the State of Florida and any of the Plaintiffs in this case. Nor did I understand the

  Article to be otherwise targeting the State of Florida.

           I declare under penalty of peijury that the foregoing is true and correct.


  Executed on: March     L3 2017



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  {01032077;v3}                                  2
